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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                  TEXARKANA DIVISION

    JUAN LOZADA-LEONI,                                :
             Plaintiff,
                                                      :
                                                             CASE NO. 5:19-cv-00011-RWS-CMS
                                                      :
    v.
                                                      :

    MONEYGRAM INTERNATIONAL,                          :      JURY TRIAL DEMANDED
    INC., JUAN MANUEL GONZALEZ
    and CHRISTOPHER PONDER in their                   :
    official and individual capacities,
                   Defendants.                        :

                      PLAINTIFF’S FIRST AMENDED COMPLAINT

         Plaintiff JUAN LOZADA-LEONI (“Plaintiff” or “Lozada”), by and through his attorneys,

 Robert W. Weber and Steve Kardell, files this First Amended Complaint demanding trial by jury

 against MoneyGram International, Inc. (“MGI”), Juan Manuel Gonzalez (“Gonzalez”) and

 Christopher Ponder (“Ponder”) (referred to individually or collectively as “Defendants”), and

 hereby alleges as follows:

              JURISDICTION, VENUE AND PROCEDURAL PREREQUISITES

         1.       Jurisdiction is conferred on this Court pursuant to 18 U.S.C. § 1514A et seq and 28

 U.S.C. § 1331.

         2.       Venue is proper in this district under 28 U.S.C. § 1391(a) because the acts that give

 rise to this Complaint, as well as certain of the transactions, acts, practices and courses of conduct

 constituting violations of the federal securities laws took place in this District. MGI’s principal

 place of business is in this district. Venue is also proper because a substantial part of the events or

 omissions giving rise to the claim occurred in this judicial district.

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         3.       Plaintiff timely filed a complaint with the United States Department of Labor.

 More than 180 days have elapsed since filing that complaint. 1 Plaintiff has therefore exhausted his

 administrative remedies.

                                                    PARTIES

         4.       Plaintiff began work as a Senior Manager for the U.S. Regional Compliance Team

 for MoneyGram International, Inc. on October 18, 2016.

         5.       MGI is a money transfer company based in the United States with headquarters

 in Dallas, Texas.

         6.       Gonzalez, at all relevant times, was a Senior Director for MGI’s Regional

 Compliance for the Americas. Gonzalez worked for MGI at its headquarters located at 3000

 Internet Blvd., Frisco, Texas. At all relevant times, Gonzalez had supervisory authority over

 Plaintiff.

         7.       Defendant Ponder, at all relevant times, was the Director of Human Resources for

 MGI Compliance. Ponder worked for MGI at its headquarters located at 3000 Internet Blvd.,

 Frisco, Texas. At all relevant times, Ponder had human resource authority over Plaintiff’s terms

 and conditions of employment.

                                        FACTUAL ALLEGATIONS
                                              Overview

         8.       This is a retaliation/termination case brought pursuant to Section 806 of the

 Sarbanes-Oxley Act (“SOX”).

         9.       The corporate Defendant, MGI, violated a number of federal statutes as well as



     1
         From March 5, 2018 to the date of filing the instant action herein, this matter was before DOL Administrative
         Law Judge Tracy Daly, bearing Cause No. 2018-SOX-0004.


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 government directives by failing to establish, implement and maintain comprehensive anti-fraud

 and anti-money laundering programs, failing to conduct due diligence on its agents, failing to

 adequately monitor, investigate and discipline its agents for significant breaches of its global

 compliance policy, and failing to ensure that its agents met their obligations to detect and prevent

 fraud, and money laundering, as outlined in both MGI’s Agent’s Global Partner Compliance Policy

 and government filings.

        10.      Plaintiff raised complaints to management regarding MGI’s continuing and willful

 violations of its policy, applicable laws and regulations as well as the government directives. He

 was terminated for seeking to stop MGI’s illegal acts.

        11.      The individual Defendants are two managers to whom Plaintiff complained of

 MGI’s violations and who were involved in Plaintiff’s termination.

                The Government’s Findings, Orders and Penalties against MGI

        12.      On October 21, 2009, MGI entered a Stipulated Order with the Federal Trade

 Commission (“FTC”). The Order (the “2009 FTC Order”) enjoined MGI from, among other

 things, failing to: establish, implement, and maintain a comprehensive anti-fraud program that was

 reasonably designed to protect US and Canadian consumers; conduct thorough due diligence on

 prospective agents and ensure its written agreements require agents to have effective anti-fraud

 policies and procedures in place; adequately monitor its agents 2 by, among other things, providing

 appropriate and ongoing training, recording all complaints, reviewing transaction activity,

 investigating agents, taking disciplinary actions against problematic agents, and ensuring that its




    2
        The definition of the term “agent” includes any party entering into a contractual relationship with MGI or its
        subsidiaries and affiliates for the purposes of providing MGI’s products and services to consumers. This
        definition also includes all subagents of an agent.

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 agents were aware of their obligations to detect and prevent fraud and comply with MGI’s policies

 and procedures. 3

        13.      On November 9, 2012, MGI entered a Deferred Prosecution Agreement (“DPA”)

 with the United States Department of Justice (“DOJ”). In the DPA, MGI admitted to criminally

 aiding and abetting wire fraud and failing to maintain an effective anti-money laundering program.

        14.      According to the DOJ November 9, 2012 press release (“DOJ 2012nPress

 Release”), 4 MGI was involved in mass marketing and consumer fraud phishing schemes,

 perpetrated by corrupt MGI agents and others, that defrauded tens of thousands of victims in the

 United States. MGI also failed to maintain an effective anti-money laundering program in

 violation of the Bank Secrecy Act (“BSA”). 5

        15.      On November 8, 2018, the DOJ levied a substantial fine against MGI and entered

 into an Amendment and Extension of Deferred Prosecution Agreement (“Amended DPA”) with

 MGI. The Amended DPA extended the DPA entered on November 9, 2012. 6

        16.      According to the Amended DPA, MGI was found to have:

                 •        Failed to successfully complete the implementation of the enhanced
                          compliance requirements of the DPA;


    3
        FTC v. MoneyGram International, Inc., Civil Action No. 09-cv-6575 (N.D.Ill.)(Oct. 19, 2009).
    4
        Department of Justice, Office of Public Affairs, Press Release No. 12-1336, MoneyGram International Inc.
        Admits Anti-Money Laundering and Wire Fraud Violations, Forfeits $100 Million in Deferred Prosecution
        (Nov. 9, 2012)(“DOJ 2012 Press Release”), https://www.justice.gov/opa/pr/moneygram-international-inc-
        admits-anti-money-laundering-and-wire-fraud-violations-forfeits.
    5
        The BSA requires U.S. financial institutions to collaborate with the U.S. government in cases of suspected
        money laundering and fraud. The purpose of the BSA, aside from making money laundering more difficult
        to propagate, is to prevent banks from becoming unknowing intermediates in illicit activity. The BSA also
        requires banks to report suspicious activity that might indicate possible money laundering or fraud. An
        activity is considered to be suspicious if it involves $5,000 or more in funds or assets that the financial
        institution suspects may indicate profit from illegal activity or transacted in order to hide illegal activity.
        Aside from financial institutions such as banks and brokers, a variety of other institutions are required to
        report suspicious activity under the BSA, including businesses that issue or redeem money orders, such as
        MGI.
    6
        United States v. MoneyGram International, No. 1:12-cr-291, Amendment to and Extension of Deferred
        Prosecution Agreement (M.D.Pa filed 11/08/18).

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                •        Failed, between April 2015 and October 2016, to block a substantial
                         number of transactions associated with consumers that MGI
                         previously had identified as receiving fraud transactions;
                •        Known that the newly-implemented fraud interdiction system was
                         ineffective and failed to adequately remediate this failure until
                         October 2016, and
                •        Failed to adequately disclose the weaknesses in the fraud
                         interdiction system to the DOJ. 7

        17.     Under the extended terms of the Amended DPA, MGI agreed to additional

 compliance obligations, including the appointment of an independent compliance Monitor (the

 “Monitor”), and DOJ agreed to continue to defer prosecution for a period of 30 months.

        18.     In a related case, MGI agreed to settle allegations made by the FTC alleging that

 MGI violated the 2009 FTC Order.

        19.     The FTC alleged that MGI failed to implement the comprehensive fraud-prevention

 program required by the 2009 order, which required MGI “to promptly investigate, restrict,

 suspend, and terminate high-fraud agents.” 8

        20.     Pursuant to the FTC allegations, “[MGI] was aware for years of the high levels of

 fraud and suspicious activities involving certain agents, including large chain agents, but failed to

 promptly conduct required reviews or suspend or terminate agents, as required by the 2009 order.” 9

        21.     In settlement of the FTC allegations, MGI agreed to an expanded and modified

 order, superseding the FTC 2009 Order and applying to money transfers worldwide.




    7
        Id; Department of Justice, Office of Public Affairs, Justice News, MoneyGram International Inc Agrees to
        Extend Deferred Prosecution Agreement, Forfeits $125 Million in Settlement with Justice Department and
        Federal Trade Commission, (November 8, 2018), https://www.justice.gov/opa/pr/moneygram-international-
        inc-agrees-extend-deferred-prosecution-agreement-forfeits 125-million.
    8
        DOJ Press Release at 2.
    9
        Federal Trade Commission, Press Release, MoneyGram Agrees to Pay $125 Million to Settle Allegations that
        the Company Violated the FTC’s 2009 Order and Breached a 2012 DOJ Deferred Prosecution Agreement,
        (November      8,    2018)      (“FTC      Press      Release”),    https://www.ftc.gov/news-events/press-
        releases/2018/11/moneygram-agrees-pay-125-million-settle-allegations-company.

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         22.     The Stipulated Order for Compensatory Relief and Modified Order for Permanent

 Injunction (“Modified FTC Order”) 10 required that MGI block money transfers of known

 perpetrators of fraud schemes and provide refunds to fraud victims and enhanced due diligence,

 investigative and disciplinary requirements. 11

         23.     While the Amended DPA and the Modified FTC Order did not single out any one

 of MGI’s agents, they identified a wide range of systemic, illegal conduct that forms the basis for

 the Amended DPA. This was the same conduct that Plaintiff began complaining about almost

 immediately after he was hired at MGI, e.g., insufficient transaction analysis; insufficient

 suspicious activity reports (“SARs”); insufficient oversight of minority owned stores; failure to

 conduct independent reviews, and breakdown of the fraud interdiction system, specifically the

 Individual Watch List (“IWL”) program.

         24.     This illegal conduct by MGI continued during Plaintiff’s tenure at MGI.

           During Plaintiff’s Tenure at MGI, MGI Had Knowledge of, Yet Ignored,
                          Suspicious Activities of its Largest Agents

         25.     Plaintiff began work at MGI in mid-October 2016. As Senior Manager for the U.S.

 Regional Compliance Team, Plaintiff was responsible for supervising Defendant MGI’s regional

 compliance officers (RCOs), senior regional compliance officers (Sr. RCOs) and managers on the

 United States team.

         26.     Plaintiff’s direct reports were responsible for measuring agents’ anti-fraud and anti-

 money laundering compliance programs and assisting in agent training and deficiency remediation

 to these agents’ compliance programs.



    10
         FTC v. MoneyGram International, Inc., Civil Action No. 09-cv-6576, Stipulated Order for Compensatory
         Relief and Modified Order for Permanent Injunction (N.D. Ill. Nov. 8, 2018).
    11
         Id.

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         27.     Plaintiff also was responsible for monitoring MGI’s agents’ implementation of

 MGI’s Global Partner Compliance Policy, which contained MGI’s anti-fraud and anti-money

 laundering policies and procedures.

         28.     Plaintiff worked under the direction of Juan Manuel Gonzalez.

         29.     During Plaintiff’s entire tenure at MGI, MGI was operating under the requirements

 of the Amended DPA and the Modified FTC Order.

         30.     During Plaintiff’s tenure, MGI had knowledge of, yet ignored, suspicious activities

 of several of its largest agents, including Wal-Mart, Schnucks, SuperValu, RaceTrac, Valero and

 CVS.

         31.     MGI knew of the suspicious activities by virtue of annual on-site regional

 compliance reviews of all of its large agents. These reviews were conducted by MGI’s Sr. RCOs.

 The findings of the Sr. RCOs’ reviews were recorded in reports called Review Worksheets, Super

 Agent (Headquarter) Review – Enhanced Due Diligence Program Review (hereafter “Agent

 Review Worksheets”).

         32.     These Agent Review Worksheets indicated problems such as: failure of the agents

 to file SARs reports, failure of the agents to conduct required monitoring and analysis, failure of

 agent to verify customer’s identity, failure of agents to implement transaction monitoring designed

 to detect suspicious activity and failure of the agents to have an account with the Financial Crimes

 Enforcement Network (“FinCEN”). 12

         33.     Agent Review Worksheets were kept on file by MGI.

         34.     At the end of the annual review, the agent received two documents from the Sr.


    12
         FinCEN is a bureau of the U.S. Treasury Department that collects and analyzes information about financial
         transactions in order to combat domestic and international money laundering, terrorist financing, and other
         financial crimes.

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 RCO: one, somewhat similar to a report card, was called an “AML/Fraud Compliance Review

 Report,” and the other, somewhat similar to a “to-do” list, was called an “Acknowledgement

 Form.” The Acknowledgement Form was then signed by the agent’s Sr. RCO or its compliance

 department representative and returned to MGI.

        35.     While MGI often would ignore violations cited in the Agent Review Worksheets

 that MGI prepared for its large chain agents, such as Wal-Mart, Schnucks, SuperValu, RaceTrac,

 Valero and CVS, it almost always disciplined the smaller “Mom and Pop” agents for the violations

 cited in their Agent Review Worksheets.

        36.     Agents that continued to ignore the violations cited in their Agent Review

 Worksheets continued to violate the DPA, the 2009 FTC Order and the BSA.

              Plaintiff Began to Notice Problems in MGI’s Compliance Department

        37.     Shortly after starting his position at MGI, Plaintiff began observing significant

 flaws with the way in which MGI was implementing and enforcing its anti-fraud and anti-money

 laundering policies, particularly when it involved large agents of MGI.

                    Plaintiff Witnessed Compliance Infractions at Wal-Mart

        38.     During Plaintiff’s third week on the job, MGI welcomed to its office in Frisco,

 Texas three senior compliance representatives from Walmart, MGI’s largest account.

        39.     The meetings with the Walmart team occurred over two days.            MGI had a

 representative from each of its compliance sections present at the meetings, and the Walmart team

 was given an overview of MGI’s global compliance program.

        40.     At the end of the first day of meetings with Walmart, Plaintiff witnessed an

 exchange that raised some red flags. The exchange occurred when Gonzalez and a group of his

 subordinates were walking to their respective assigned work spaces. Eli Morillo (“Morillo”),

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 MGI’s VP of Global AML Compliance, stopped Gonzalez in the hall. Morillo asked Gonzalez if

 he had informed the Monitor’s team about MGI’s meeting with Walmart.

        41.     To Plaintiff’s surprise, Gonzalez started laughing and bragged to Morillo that he

 had hoodwinked the Monitor by excluding the Monitor from the meeting with Wal-Mart.

 Gonzalez told Morillo that he had not told the Monitor about the Wal-Mart meeting because he

 did not want the Monitor’s team in his business. Plaintiff was shocked at this response. Plaintiff

 wondered about the message that Gonzalez, as the Head of Regional Compliance for the Americas,

 was sending to his team. Plaintiff questioned how MGI could build a culture of compliance if the

 head of its compliance program kept information from its Monitor and then bragged about it.

        42.     Plaintiff also noticed how close Gonzalez was with the senior sales managers who

 oversaw the larger accounts. Gonzalez asked his direct reports to get permission from those senior

 sales managers before implementing anti-fraud measures, also known as system rules, into the

 network.

        43.     The exchange between Gonzalez and Morillo was the first indication to Plaintiff

 that something was not right in the MGI compliance department. As Plaintiff earned more about

 the intricacies of his position, Plaintiff noticed some significant discrepancies between the image

 that MGI presented to its external stake-holders about the effectiveness of its compliance program

 and the reality on the ground.

        44.     In addition, the technology that MGI was using was so outdated that it was

 becoming increasingly clear to Plaintiff that MGI simply did not have the technology to run an

 effective compliance program as required by the DPA and 2009 FTC Order.




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                     Plaintiff Witnessed Compliance Infractions at Schnucks

         45.     In or about February 2017, Plaintiff received an email from Pam Mueller

  (“Mueller”), the compliance contact for Schnucks Supermarkets. In her email to Plaintiff, Mueller

  complained about a known fraudster that continued to use MGI to defraud the agent’s customers

  even when she had reported the name to MGI and asked that the agent be blocked. She asked why

  the agent had not been blocked and inquired as to whether her requests to have MGI partner in

  helping to eliminate wire transfer fraud in her stores was going to be honored.

         46.     In or about February 2017, Sheryl Stanhope, the store auditor from Schnuck’s wrote

  an email message informing MGI Compliance that MGI was not honoring a block request and, as

  a result, fraudsters continued to use Schnuck’s to defraud customers.

         47.     Kristi Diehl (“Diehl”), the VP of Global Compliance Enhancement Program and

  Technology Projects, managed a large team that was the target of constant criticism within

  compliance for its lack of effectiveness and inability to fix significant problems. Plaintiff recalls

  having a frank discussion with Diehl about the IWL program in January 2017. Plaintiff’s

  conversation with Diehl was cordial but not very productive. Diehl told Plaintiff that IWL should

  be working and that Plaintiff needed to meet with his team to determine why it had failed for

  Schnucks.

         48.     That same week, Plaintiff met with Craig Bernier, the Head of Compliance

  Monitoring (Financial Intelligence Unit), and Bernier told Plaintiff that he was aware of the

  problem and that he also was frustrated with the lack of a solution.

         49.     About one month later, Plaintiff had a conversation that caused him further concern.

  Ana Duenas Arias, MGI’s Risk Assessment Manager (Analytics Compliance) told Plaintiff that

  she knew that MGI’s IWL was a mess and that she had been forced to bypass her supervisor and

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  go straight to senior management to implement a smaller “fraud intersect” program that could help

  to catch some of these known fraudsters. She also told Plaintiff that while implementing that

  program she had discovered that 3,000 names had been entered incorrectly in to the IWL system

  by Diehl’s team and that nobody had discovered the error until she pointed it out months later.

  This meant that 3,000 known fraudsters continued to transact business because of Diehl’s error

  and nobody caught the problem for months.

         50.     MGI continued to turn a blind eye to ongoing violations of the DPA, the 2009 FTC

  Order, and the BSA.

                        Plaintiff Witnessed Compliance Infractions at CVS

         51.     In or about 2017, I shadowed Pablo Rivera (“Rivera”), MGI’s Senior RCO in

  charge of the CVS account. I saw that Rivera knew firsthand the irregularities that occurred at

  CVS stores because of a lack of proper reporting.

         52.     I saw that Rivera experienced significant problems reviewing some CVS stores,

  namely that managers of the stores were often combative and poorly trained in compliance matters.

         53.     Rivera noticed how CVS stores failed to follow their own procedure and often

  failed to mail compliance related documents for storage to the HQ.

         54.     Rivera and I attended meetings where MGI sales managers would talk CVS

  representatives out of implementing measures that would lower fraud.

         55.     Plaintiff Notified MGI Management of its Compliance Infractions, but to no avail.

         56.     Plaintiff wrote to Gonzalez about his concerns about the compliance infractions

  that he had witnessed, but Gonzalez often ignored Plaintiff’s emails. When Plaintiff told Gonzalez

  about the problems over the phone, Gonzalez told Plaintiff that he would look into them, but

  Plaintiff never hear back from Gonzalez.

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          57.      Plaintiff also brought his concerns regarding MGI’s compliance infractions to the

  attention of Ponder, the Director of Human Resources for the Compliance Department of MGI.

  Ponder refused to investigate Plaintiff’s claims of ethical violations on the part of Gonzalez, and

  subsequently criticized Plaintiff for his lack of deference to Gonzalez.

          58.      Plaintiff was amazed that despite the fact that many senior people in compliance

  knew about MGI’s compliance problems, they continued to give a misleading presentation to agent

  representatives that visited the Frisco office.

          59.      Plaintiff learned that the year-end bonuses received by most senior managers and

  directors in MGI’s compliance department were based on MGI meeting its revenue targets. It was

  clear to Plaintiff that MGI’s compliance decisions were compromised by its revenue interests. 13

          60.      Over and over again, senior employees at MGI portrayed an image that completely

  misrepresented MGI’s compliance program and bragged about the effectiveness of MGI’s IWL,

  even though they knew it was false.

          61.      Plaintiff began to tell some of MGI’s agents that MGI’s IWL was not perfect and

  that the agents needed to partner with MGI to mitigate fraud until MGI’s technology could combat

  the fraud on its own.       Gonzalez became very upset at this; he wanted Plaintiff to leave those

  comments out of his presentations, even when Plaintiff expressed concerns that agents may not

  have been watching for the names on the IWL if they believed MGI had resolved the issue and

  blocked the fraudsters in its system.

           62.     Whenever Plaintiff mentioned a problem with MGI’s compliance program to

  Gonzalez, Gonzalez either ignored Plaintiff or became frustrated.




  13
    Indeed, the DOJ itself had concluded that “MoneyGram’s broken corporate culture led the company to privilege
  profits over everything else.” DOJ 2012 Press Release.
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         63.     The compliance issues raised by Plaintiff were raised shortly before the DPA was

  to expire and while MGI was in the process of gaining approval for a merger with Ant Financial,

  a Chinese company, that had pushed MGI stock to some of its highest valuation in years.

         64.     Upon information and belief, MGI wanted to get out from under the DPA because

  its existence was negatively affecting MGI’s stock price and could potentially have affected the

  Ant Financial merger.

         65.     MGI, therefore, concealed its ongoing infractions of the DPA, the FTC Order and

  the BSA for its own gain.

           MGI Intentionally Hid its Compliance Program’s Flaws from the Monitor
                             To Appear to Comply with the DPA

         66.     An example of MGI hiding its compliance problems from the Monitor occurred in

  or about December 2016. Plaintiff was placed in charge of revamping the RCT’s financial

  institutions’ review program. It had been years since MGI last reviewed most of the high-risk

  financial institutions, and the Monitor specifically rebuked MGI about this issue. Plaintiff selected

  an RCO to help him run the program and they started to meet with the internal stake-holders.

         67.     Many of the financial institutions that served as MGI agents were governed by

  “evergreen” contracts that self-renewed every few years. This meant that most of the contracts

  were old contracts and did not contain the language that would allow MGI to demand that its

  financial institution agents comply with its global-partner compliance policy.

         68.     Most RCOs complained to Plaintiff that banks were unresponsive and often claimed

  that they did not have a duty to provide information about their compliance program to MGI.

         69.     Plaintiff raised this concerned with Gonzalez. Gonzalez told Plaintiff that this was

  a problem, but it was not their problem. He asked Plaintiff to attend a meeting with the Monitor

  to assure the Monitor that MGI had already scheduled reviews for high-risk financial institutions
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  and planned to review all financial institutions that appeared in the ARM (agent risk model) for

  that cycle. As directed, Plaintiff attended a meeting with a member of the Monitor’s team and told

  him that MGI was on track to meet its commitments with the financial institutions. Two days

  later, however, Gonzalez told Plaintiff to scratch his plan to review financial institutions. Plaintiff

  asked for permission to tell the Monitor about the change of plans, but Gonzalez told Plaintiff that

  he did not want Plaintiff to do that and that it was not necessary.

         70.     MGI enforced a hiring freeze from November 2016 to January 2017. During that

  time, over one-third of the Regional Compliance Team (“RCT”) positions in the U.S. remained

  vacant, and the RCT remained seriously understaffed. Plaintiff became convinced that the main

  goal of MGI was to cut expenses, even if that meant hiding the program’s flaws from the Monitor,

  MGI’s own partner agents and its investors.

         71.     In one particular meeting in January or February 2017, Gonzalez told members of

  the RCT to not put compliance deficiencies in writing but, instead, to pick up the phone and call

  their colleagues to avoid creating a paper trail. Gonzalez reminded the RCT that the Monitor would

  use key words to search all emails sent within compliance, and that MGI wanted to avoid having

  to explain an email to the Monitor.

         72.     Most concerning, Gonzalez told the members of the Latin America RCT to distort

  or “shape” the message in MGI’s favor whenever they were being shadowed by members of the

  Monitor’s team who were not significantly proficient in Spanish. Plaintiff was so concerned about

  what Gonzalez had said that he called a meeting with his team to clarify that everyone should be

  transparent with the Monitor’s team and that nobody should be shaping the message or

  misrepresenting anything to the Monitor’s team.




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         73.     Another example of MGI hiding its compliance problems from the Monitor

  occurred during a conference in Miami, where Plaintiff was to give a presentation to the RCT team

  about the DPA.      One of the attorneys assigned to the Monitor’s team, Phil Underwood

  (“Underwood”), attended the conference. Plaintiff took advantage of this opportunity to raise

  some of his concerns with Underwood. Gonzalez saw Plaintiff talking to Underwood and became

  concerned. He questioned Plaintiff about the content of his conversation with Underwood and told

  Plaintiff to report to him about any further conversations.

         74.     Peter Green, MGI’s Head of Regional Compliance for the Americas and Europe,

  also saw Plaintiff speaking to Underwood and asked Plaintiff what their conversation entailed.

         75.     While Plaintiff was in Miami, he received a message from Eddie Ponce, one of

  MGI’s compliance directors. Ponce was worried about a strategic account assigned to one of

  Plaintiff’s direct reports because the fraud rates of the agent were higher than normal. Plaintiff

  spoke to Derya White and Gonzalez about this. Gonzalez became upset that Ponce was interfering

  with “his business.” When White left the meeting, Gonzalez told Plaintiff to withhold from Ponce

  any information about Supervalu, the agent in question.

         76.     Just minutes before Plaintiff began his presentation about the DPA, Gonzalez

  ordered Plaintiff to erase some of the slides in his presentation. Gonzalez told Plaintiff that he did

  not want the Monitor seeing the information contained in those slides.

         77.     Plaintiff again was amazed by how senior leaders in MGI compliance were working

  hard to ensure that the Monitor was kept in the dark. This was clearly not a Gonzalez issue alone;

  Plaintiff had seen attorneys from MGI attend a meeting where Gonzalez told RCT team members

  not to communicate with other members of the team about compliance deficiencies in writing.




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  Instead, Gonzalez encouraged RCT members to pick up the phone and “shape the message” to the

  Monitor whenever they could.

                    Plaintiff Witnessed Compliance Infractions at SuperValu

         78.     Weeks after the Miami conference, Plaintiff traveled to Minneapolis to conduct a

  Headquarters review of Supervalu, the large Minnesota-based grocery chain.

         79.     Plaintiff was worried about SuperValu’s consistently high fraud rates and wanted

  to learn why it was struggling to bring its fraud problem under control. During the review, Plaintiff

  learned that there were a number of minority-owned stores that Supervalu did not track for

  compliance purposes. Plaintiff learned about this when he heard White mention to the compliance

  contact for Supervalu that one of the SuperValu locations on which she had conducted a transaction

  analysis showed high levels of fraud and activity consistent with money laundering. When the

  Supervalu compliance contact told Plaintiff and White about the lack of oversight, Plaintiff asked

  some follow-up questions.

         80.     What transpired over the next few days convinced Plaintiff that MGI was not

  willing to compromise its business relationship with a large agent in order to force the agent to

  comply with its compliance obligations. In the case of Supervalu, SuperValu actually was

  rewarded with production bonuses for meeting its targets. Once again, MGI chose profits over the

  safety of its customers and consumers.

         81.     Plaintiff learned that in addition to allowing stores to operate without compliance

  supervision from headquarters, Supervalu also had failed to conduct an independent review of its

  compliance program for years and had allowed its stores to continue operating even when their

  transaction monitoring was not designed to detect suspicious activity (a basic cornerstone of any

  working compliance program). In fact, many of the deficiencies of SuperValu’s program noted

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  by White over the past three years had not been addressed. White acknowledged that large agents

  were often allowed to operate under a type of “honor system,” and that once she handed the agents

  an Agent Review Worksheet showing SuperValu’s compliance deficiencies, she trusted that the

  agents would do the right thing.

         82.     Plaintiff, concerned that other strategic accounts assigned to him had the same

  problems as SuperValu, sent an email message to Gonzalez that same night. Plaintiff asked

  Gonzalez for permission to conduct headquarter reviews of all large accounts assigned to him.

  Gonzalez did not answer that email but did call a meeting with Plaintiff the next day.

       Plaintiff Was Retaliated Against for his Complaints about MGI’s Illegal Conduct

         83.     Gonzalez was frustrated with Plaintiff for sending him the email about Supervalu.

  When Plaintiff asked his permission to suspend the minority-owned stores until MGI could

  determine who owned them, Gonzalez refused. Gonzalez told Plaintiff that he would not suspend

  the stores because he did not want MGI to lose its customers to the competition. Plaintiff

  responded that Gonzalez’s decision to allow these stores to continue to operate was completely

  contrary to everything Plaintiff had learned about MGI’s written policies and appeared to violate

  the law. Nonetheless, Gonzalez continued to hide MGI’s compliance issues.

         84.     Plaintiff was concerned that Gonzalez’s decision was a violation of the BSA and

  told Gonzalez this. Plaintiff also told Gonzalez that this issue needed to be brought to MGI’s legal

  department, but Gonzalez ignored Plaintiff’s recommendation.

         85.     Plaintiff approached the legal department a few days later and was told that

  Gonzalez’s decision was troubling by Leah Carlisle Pfeifer, an attorney with MGI.

         86.     Four days after Plaintiff’s conversation with MGI’s legal department, Gonzalez

  called Plaintiff and told him that he could not believe that Plaintiff had gone to the legal department

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  behind his back and that he did not think that Plaintiff could continue to work as one of his

  managers anymore. Plaintiff was stunned. A few days after this phone conversation, Plaintiff was

  fired.

                  The DPA Was Amended, the FTC Order Was Modified, and Both
                 Specifically Addressed the Compliance Violations Cited by Plaintiff

           87.     Approximately 18 months after Plaintiff was terminated, MGI was found to have

  violated the 2009 FTC Order and was hit with massive new fines and sanctions, along with the

  brand-new Amended DPA.

           88.     These new sanctions incorporated and adopted the following complaints that

  Plaintiff had been terminated for raising:

                   •      Plaintiff’s complaints regarding MGI’s violation of laws and
                          regulations, including violations of the BSA, the Patriot Act,
                          consumer fraud protections and money laundering statutes;

                   •      Plaintiff’s complaints regarding MGI’s willful violations of the
                          2009 FTC Order, and

                   •      Plaintiff’s complaints regarding MGI’s willful violations of the
                          DPA.



   Government Findings:                             Continued Violations Raised by Plaintiff
                                                    and Known to MGI:
                                                    SuperValu
   “MoneyGram was aware … of suspicious             Plaintiff learned from White and her team,
   activities involving certain agents…but failed   representing and acting on behalf of MGI,
   to promptly conduct required reviews or          that:
   terminate agents.” (2009 FTC Order)                  1. SuperValu had done insufficient
                                                           transaction analyses;
                                                        2. SuperValu filed insufficient SARs
                                                           (for its size and fraud rate);
                                                        3. SuperValu conducted insufficient
                                                           oversight of minority-owned stores;
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   MGI experienced “continued weaknesses in              4. SuperValu failed to conduct
                                                            independent reviews; and
   [MGI’s] anti-money laundering …and anti-
                                                         5. there was a breakdown of
   fraud programs.” (DPA ¶1.a.)                             SuperValu’s fraud interdiction
                                                            system, specifically the IWL.

   “Failure by [MGI] to block a substantial          Wal-Mart
   number of transactions associated with               1. Plaintiff overheard Gonzalez telling
                                                           Morillo that he had not disclosed the
   consumers MGI previously identified as
                                                           Wal-Mart meeting to the Monitor
   receiving fraud transactions.” (DPA ¶1.b.)              because he did not want the Monitor
                                                           “in his business.”
                                                        2. MGI personnel was often poorly
                                                           trained and very rarely conducted
                                                           transaction monitoring and analysis;
   MGI knew its “fraud interdiction system was
                                                        3. MGI treated Wal-Mart, the largest
   ineffective and [failed] to remediate this              agent of MGI, favorably and did not
                                                           suspend Wal-Mart stores in instances
   failure.” (DPA ¶1.c.)
                                                           where it should have.

                                                     Schnucks
   “MGI inadequately disclosed “the weaknesses
                                                         1. Pam Mueller, Schnuck’s assigned
   in the fraud interdiction system to the [DOJ].”
                                                            Compliance representative, sent
   (DPA ¶1.d.)                                              Plaintiff an email accusing MGI of
                                                            failing to block fraudsters;
                                                         2. Mueller also complained about the
                                                            breakdown of Schnuck’s fraud
                                                            interdiction system, specifically the
                                                            IWL;
                                                         3. Sheryl Stanhope, the store auditor
                                                            from Schnuck’s, wrote a message
                                                            informing MGI that it was not
                                                            honoring her block request and, as a
                                                            result, fraudsters continued to use
                                                            Schnucks to defraud others

                                                     CVS
                                                     Plaintiff learned from shadowing Pablo
                                                     Rivera, MGI’s Senior RCO in charge of the
                                                     CVS account, representing and acting on
                                                     behalf of MGI, that:



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                                                           1. There were irregularities with CVS
                                                              stores caused by a lack of proper
                                                              reporting.
                                                           2. Rivera experienced significant
                                                              problems reviewing some CVS
                                                              stores, managers of the stores were
                                                              often combative and poorly trained
                                                              about compliance.
                                                           3. CVS stores failed to follow their own
                                                              procedure and often failed to mail
                                                              compliance related documents for
                                                              storage to the HQ.
                                                           4. Rivera attended meetings where MGI
                                                              sales managers would talk CVS
                                                              representatives out of implementing
                                                              measures that would lower fraud.

                                      FIRST CAUSE OF ACTION
                 (Retaliation in Violation of the Sarbanes-Oxley Act - 18 USC § 1514A)

           89.      Plaintiff repeats and realleges each of the allegations contained in each of the

  preceding paragraphs as though fully set forth herein.

           90.      As set forth above, Defendants violated the Sarbanes-Oxley Act of 2002, 18 U.S.C.

  1514A, by taking adverse employment actions against Plaintiff, including, but not limited to,

  termination and other forms of retaliation, because of his protected conduct under 18 U.S.C.

  1514A.

           91.      As a direct and proximate cause of Defendants’ retaliatory conduct, Plaintiff has

  suffered and will continue to suffer severe financial, mental and emotional hardship and injury

  including the loss of compensation, reduced possibilities for equivalent future compensation, and

  other additional damages, including interest, attorney’s fees, costs and disbursements.




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                                        RELIEF SOUGHT

         WHEREFORE, as a prevailing SOX whistleblower is entitled to “all relief necessary to

  make the employee whole,” Plaintiff requests the following relief:

         •       Back pay (lost wages and benefits);
         •       Reinstatement with the same seniority that the employee would have had, were it
                 not for the retaliation;
         •       Alternatively; front pay in lieu of reinstatement;
         •       Special damages (damages for impairment of reputation, personal humiliation,
                 mental anguish and suffering, and other noneconomic harm that results from
                 retaliation), and
         •       Attorney’s fees, and costs.


   DATED: March 20, 2019                              Respectfully submitted,


                                                 By: /s/ Robert W. Weber
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                                                      ATTORNEYS FOR PLAINTIFF,
                                                      JUAN LOZADA-LEONI


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